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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTICT OF TENNESSEE


STEVE STAPLETON, JR. and                  *
RICHARD STAPLETON,                        *
                                          *
      PLAINTIFFS,                         *
                                          *
vs.                                       *     No. 2:08-cv-02886-SHM
                                          *
MONUMENTAL LIFE INSURANCE                 *
COMPANY,                                  *
                                          *
      DEFENDANT.                          *
______________________________________________________________________________

          JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE
______________________________________________________________________________

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), notice is hereby given that all parties have

agreed and hereby stipulate that Plaintiffs’ claims herein against Monumental Life Insurance

Company shall be dismissed without prejudice. No court costs, including discretionary costs,

shall be assessed.

                                                   Respectfully submitted,

                                                   /s/ F. Auston Wortman, III
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                                                   F. Auston Wortman, III (#024808)
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                                                   and Richard Stapleton

                                                   /s/ David E. Goodman, Jr.
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                                                   Attorneys for Defendant Monumental Life
                                                   Insurance Company


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